                    IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                     AT NASHVILLE

 IN RE:                                               )
                                                      )
 CUMMINGS MANOOKIAN, PLLC,                            )      Case No: 3:19-bk-07235
                                                      )      Chapter 7
                                                      )      Judge Walker
               Debtor.                                )
                                                      )      Hearing Date: August 30, 2023
                                                      )      at 11:00 a.m.

               TRUSTEE JEANNE ANN BURTON’S WITNESS AND EXHIBIT LIST
                     FOR AUGUST 30, 2023 HEARING ON TRUSTEEE’S
                 MOTION TO APPROVE COMPROMISE AND SETTLEMENT

          Comes now Movant, Jeanne Ann Burton, by and through special counsel, and hereby

 gives notice of the witnesses she may call, and exhibits she may introduce, at the August 30,

 2023 hearing on the Trustee’s Motion to Approve Compromise and Settlement (Doc. 108) (the

 “Settlement Motion”), the objection thereto of Brian Manookian (Doc. 112) (the “Manookian

 Objection”), the supplement to the Manookian Objection (Doc. 123) (the “Manookian

 Supplement”), the Trustee’s response to the Manookian Objection (Doc. 125), the Trustee’s

 motion to strike the Manookian Objection due to lack of standing (Doc. 136) (the “Motion to

 Strike”), Brian Manookian’s response to the Motion to Strike (Doc. 144) (“the Standing

 Response”), Brian Manookian’s renewed objection to the Settlement Motion (Doc. 180) (the

 “Renewed Motion”), and the Trustee’s response to the Renewed Motion (Doc. 181):

                                          WITNESS LIST

          1.       Jeanne Ann Burton, Trustee. If called to testify, Trustee Burton will testify

 regarding the considerations and justifications for the settlement proposed in the Settlement




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 Motion.      She will also address issues raised in the Manookian Objection, the Manookian

 Supplement, and the Motion to Strike.1

         2.       The Trustee reserves the right to call the witnesses identified by any other party

 and any other witnesses needed to rebut evidence offered by any other party.

                                            EXHIBIT LIST

         1.      Transcript from the hearing on this matter conducted by this Court on September

 29, 2021 (Doc. 157).

         2.      All exhibits introduced at the hearing on this matter conducted by this Court on

 September 29, 2021.

         3.      All documents previously filed with the Court in this matter, including statements,

 schedules, proofs of claim, the Settlement Motion, the Manookian Objection, the Manookian

 Supplement, the Trustee’s response to the Manookian Objection, the Motion to Strike, and all

 exhibits to any document previously filed with the Court in this matter.

         4.      All documents filed in the Chase v. Stewart state court matter including order,

 appellate opinions, and motions.

         5.      All documents filed in Adversary Proceeding No. 3:20-ap-9002, Burton v. Hagh

 Law PLLC et al.

         6.      The Trustee reserves the right to introduce any exhibits identified by any other

 party and any exhibits needed to rebut evidence offered by any other party.




 1
  Based upon the Court’s prior orders, the Trustee does not intend to address the objection filed by Grant,
 Konvalinka, & Harrison, PC.



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 DATED: August 16, 2023
                                       /s/ Phillip G. Young, Jr.
                                       Phillip G. Young, Jr.
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                                       Special Counsel for Chapter 7 Trustee




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